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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION



 RUSSELL GAITHER,

                 Plaintiff,                                 CIVIL ACTION NO.: 6:20-cv-l 1


         V.



 MARTY ALLEN,et al..

                 Defendants.



                                            ORDER


       Presently before the Court are Plaintiffs Objections to the Magistrate Judge's Order dated

September 8,2020 and Report and Recommendation dated September 8, 2020. Docs. 16, 17. For

both rulings, the Magistrate Judge determined Plaintiff is a "three striker" within the meaning of

28 U.S.C. § 1915(g), and he failed to meet the imminent danger exception to that statute allowing

him to proceed with this cause of action without first paying the requisite filing fee. See e.g.. Doc.

17, pp. 2-4. In his Objections to the Report and Recommendation, Plaintiff cites irrelevant and

non-binding case law in support of his proposition that he may proceed informa pauperis despite

his status as a "three striker." Doc. 21, pp. 1-2. Plaintiff also objects to the Magistrate Judge's

recommendation that Plaintiff is not in imminent danger, but the objections lack specificity and

are without merit. Id. at p. 5.

       After an independent and de novo review of the entire record, the Court OVERRULES

Plaintiffs Objections. Doc. 21. The Court CONCURS with the Magistrate Judge's Report and

Recommendation and ADOPTS the Magistrate Judge's Report and Recommendation as the

opinion of the Court. Thus, the Court DISMISSES without prejudice Plaintiffs Complaint,
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DIRECTS the Clerk ofCourt to CLOSE this case and enter the appropriate judgment ofdismissal,

and DENIES Plaintiff leave to proceed informa paiiperis on appeal.

       Plaintiff also filed a separate document, captioned "Notice of Appeal," which the Clerk of

Court docketed as an appeal of the Magistrate Judge's Order denying Plaintiff informa pauperis

status. Doc. 22. In that filing, Plaintiff states he is appealing from a "final judgment" in this case.

It is unclear if Plaintiff intended this filing to be an appeal of the Magistrate Judge's Order or a

notice of appeal from a final judgment in this case. To the extent Plaintiff intended this filing to

be an appeal of the Magistrate Judge's Order ruling on a nondispositive matter under Federal Rule

of Civil Procedure 72(a), the Court OVERRULES the appeal. Plaintiff offers nothing in this

appeal indicating the Magistrate Judge's denial of Plaintiffs motion to proceed informa pauperis

is clearly erroneous or contrary to law. Fed. R. Civ. P. 72(a). To the extent Plaintiffintended this

filing to be a notice of appeal from a final judgment in this case, the notice does not require any

ruling by this Court. However, the Court notes such a notice would be premature, and likely

ineffective, given that final judgment has not been entered.

       SO ORDERED,this                  day of November, 2020.




                                       HONdRABrB J ^r;0AlhdALL
                                       UNITE5>STATES DISTRICT JUDGE
                                               lERN DISTRICT OF GEORGIA
